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April 20, 2023

Via Email and U.S. Mail
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Re: Request for evaluations of Plaintiffs with Dr. Butz under Fed. R. Civ. Pro. 35
Caekaert & Mapley v. Watchtower Bible and Tract Society of New York, Inc., et al.
Rowland & Schulze v. Watchtower Bible and Tract Society of New York, Inc., et al.

Dear Brett,

We understand that Defendants seek to complete evaluations of Plaintiffs with Dr. Butz under
Fed. R. Civ. Pro. 35. We would like to reach an agreement with Defendants to get these
completed. As an initial matter, we would like to see what is being proposed for the “manner,
conditions, and scope of the examination” that Dr. Butz intends to perform for each Plaintiff.
Prior to a final agreement, we would also like to see the list of other cases in which Dr. Butz has
testified as an expert at trial or deposition as will be required under Fed. R. Civ. Pro. 26.

We have identified a number of other issues to address:
Travel pertaining to Camillia Mapley:

Requiring Ms. Mapley to attend her exam in person would require $-7 days of travel: (1) 3.5
hour bus ride from her home to Melbourne on the day prior to her flight to the U.S.; (2) 30 hour
flight to Billings; (3) 24-48 hours to recover from the time zone change (she is 16 hours ahead)
prior to the evaluation; (4) day of evaluation; (5) 30 hour flight back to Melbourne; and (6) 3.5
hour bus ride back to her home. This is obviously a significant amount of travel and logistics for
a one-day exam.

EXHIBIT

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Ms. Mapley is the sole provider for herself and her son, Adler. Missing a week of income would
impose a significant hardship on her. Additionally, Adler has no relationship with his father
outside of weekly phone calls. The relationship between Ms. Mapley and Adler’s father has an
extensive history of domestic violence which is well documented and currently ongoing. It
would be untenable for Ms. Mapley to leave her son with her abuser, who again, has minimal
contact with the Adler. Finally, while Ms. Mapley herself has been successful in obtaining a
passport, Adler currently does not have a passport and therefore cannot travel with Ms. Mapley
to Montana for her evaluation. Ms. Mapley is currently working with the Australian authorities
to obtain a passport for Adler so that he can travel with her to Montana for trial where she will
have familial support and assistance. We expect the passport issue to be resolved by our current
trial date. However, at this point in time, it is unclear who would care for Adler while Ms.
Mapley is gone.

In light of the fact that Plaintiffs’ expert witness (Dr. Holmberg) was able to perform his exam of
Cami remotely, we would be interested in hearing your view as to why such an extreme amount
of travel and logistical burden is justified.

Travel pertaining to Tracy Caekaert:

Mrs. Caekaert is currently on disability and has been diagnosed with Postural Orthostatic
Tachycardia Syndrome (POTS) and fibromyalgia. Mrs. Caekaert is actively treating these
diagnoses, however, since traveling from Arkansas to Montana for her deposition in February of
this year she has taken a significant turn for the worse. Currently, Mrs. Caekaert is unable to
stand or move for long periods of time and must use a walker with a seat built into it to move
about her house as necessary because she is experiencing severe episodes of dizziness, weakness,
migraines, all-over body pain, and tremors. Her current primary care provider has referred her to
anew specialist and Mrs. Caekaert is actively working on obtaining a new and effective
treatment plan. However, as it stands her doctor has stated that she cannot travel.

It is our hope that with proper medical care, Mrs. Caekaert will be able to travel again. But this
will take time and it is uncertain when she will be cleared to travel again. With this in mind, it
may make sense to schedule Mrs. Caekaert’s evaluation towards the end of the 9-month outlined
in your letter with the hope that she is cleared to travel. Alternatively, we would be amenable to
setting up her evaluation remotely. Please let me know your thoughts on this issue.

Jamie Schulze and Ariane Rowland:

Mrs. Schulze and Ms. Rowland are both able to travel to Billings for their evaluations. Given the
nature of their conditions and the topics they will be discussing, we request that frequent short
breaks be built into the examination and testing so that they can take care of their mental and
emotional health during the exam and testing.
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Recordation:

We don’t know Dr. Butz and have no prior experience with him. Online reviews raise a concern
about whether things stated during his exams are accurately portrayed in his reports. We think
all parties in this case have an interest in ensuring that things said by Plaintiffs during Dr. Butz’s
exam be accurately recorded and characterized. As a result, we believe that it would be
appropriate to record the interview portion of Dr. Butz’s exams so that there is no dispute about
what was said. Please let me know your thoughts on this issue.

Costs:

It has been our experience that Plaintiffs pay the costs of their expert examinations including
travel and Defendants bear the costs of their examinations including travel, please let us know if
you see this differently.

Plaintiffs’ counsel will be available to discuss all matters related to the Rule 35 exams and we
look forward to working with you to get them scheduled and completed.

Sincerely,

MEY AFFER & STEPANS, PLLP

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Victoria Gannon ~
